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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBOCK DIVISION

RANDY DUPREE, )
)
Piaintiff, )
)
v. )
)
MARSHA MCLANE, Director ofTCCO, )
and TIFFANY MABANK, Case MGN )
Supervisor, )
)

Defendants. ) Civil Action No. 5: 16-CV-231-C

JUDGMENT
For the reasons stated in the Court’s order of even datc,
IT IS ORDERED, ADJUDGED, AND DECREED that the above-styled and -numbered
civil action is DISMIS§?D as specified in the Court’s Order.

Dated this 7 dday of September, 2017.

  

 

kS . C GS
~ OR TED STATES IS RICT JUDGE

